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 8                                UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                       No. 2:13-cr-00016 GEB DAD P
12                      Respondent,
                                                   [PROPOSED] ORDER GRANTING
13            v.                                   MOTION TO EXTEND THE TIME FOR
                                                   COMPLIANCE WITH
14   CARLOS ALEJANDRO MENDOZA-                     WITH THE COURT’S SEPTEMBER 26,
     VILLANUEVA,                                   2014, ORDER CONCERNING THE
15                                                 CLIENT’S PRO SE 2255 MOTION
                        Movant.
16

17            Defendant Carlos Alejandro Mendoza-Villanueva’s motion for extension of time (ECF

18   No. 80) to comply with the Court’s September 26, 2014, order is granted.

19            It is therefore ORDERED that by November 26, 2014, the defendant, through his

20   appointed counsel, shall notify this Court how he intends to proceed regarding his pro se motion

21   under 28 U.S.C. § 2255 filed June 25, 2014 (ECF No. 65).

22   Dated: October 17, 2014

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